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EXHIBIT F

 
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*

Tammy Kitzmiller, ¢

 

 

 

 

eila Harkins
quary 3, 2005 Dover Area School Div
. Page 20

(, objections are to be concise ina

(2) nonargumentative manner and that speaking
fg] objections are entirely improper. You're

4) disrupting the deposition. We only have a

i) certain amount of time today. I request that

t make speaking objections.

je) you please do no
m Your objections should be objection to the form
to know the basis

a) of the question. If | want
i] for your objection, I will ask you.

MR. THOMPSON: First of all, I'm not going
(1) to take a lecture from you, okay. She answered
iq) the question twice, and you keep on asking her
(1g) what is her understanding of the theory of
14 biological evolution. She says she doesn't
i1§) know. She says she’s nota scientist.

MR. HARVEY: So you're instructing the

witness not to answer the question on the

grounds of relevance?
i MR. THOMPSON: On the grounds of relevance,
} on the grounds of the state statute of
4 Pennsylvania, and the federal rules.
, MR. HARVEY: Do you realize that's highly
y) improper and under the federal rules in
3 particular in this district as under Judge
9) Gawthrop’s opinion in Hail versus Clifton
cision to instruct 4 witness not to answer a

4) Pre
ther grounds other than

21 question on any ©
13) privilege or to protect—
14] MR. THOMPSON: That's what I said, it’s on

15) privilege. Itis a privilege. We're not going
1 to turn this into an inquisition about what ye «= MR.H ARVEY: I am not talking about the

17 someone's religious beliefs are. (17) witness's answer right now. I'm talking about]
ve) MR. HARVEY: well, we may have to consult a) your conduct at this deposition. You are not fo
tg) the court on that, but I'll go on right now. 19) interrupt the deposition with your
MR. THOMPSON: Absolutely. go) argumentative, speaking objections. Objectiqn

BY MR. HARVEY: 21) should be as to the form of the question, an¢ if
arenar meaneory of evotudon? ¢ za) you feel that you need to instruct the witne
23] not to answer, you may do so.And we can bring
ja, those issues UP with the court. But it's not
jes) proper to interject with speaking objections

 

      
 
  
  
 
 
 
  
 
  
 
  

 

 

Page q =

(1) throughout the day and objection— I'd lik¢ to
4 proceed on that basis.

a «= MR. HARVEY: Can you read back the la

(4) question and answer.

tj «= s (The court reporter read the previous

() question.)
BY MR. HARVEY:

    
   

g) A: PdonesAe”
Q: Does the theory of evolution in yo mind

1) conflict with your religious views?

11a ~-A: No, it does not.

(13) +: Have you ever had any conversatio with anybody
(14) on the school board about whether the
{19} evolution conflicts with your personal r¢ ligious

   

Peo o

* [16} ‘MR. THOMPSON: That's been asked and
171 answered. She's not a scientist. She's

(18) indicated that her own theory is things evolve
(1g) and she hasn't gotten any further than that.
(29) She's indicated she doesn’t know what the

4 biological theory of evolution is.

a «MA. HARVEY: Counsel, you are out of line

(1) views?
un CAS No, I have not.
te) «QQ: The school board members

tz) Mr. Wenrich, Mr. Bonsell, both Mr. and

onOctpber 1 8th were in

9} addition to you Mr. Buckingham, Ms. Geesey,

zy Mrs. Brown, Ms. Yingling, and Ms. Cleaver.Am I

eq) correct?
A: 1 don't know. 1 believe you.

 

 

 

 

 

 

 

 

 

 

23) here. We are conducting a deposition in [23]
pa) accordance with the federal rules of civil te —«Q@: I believe that's the case. You don't understand
5) procedure, and the rules are very clear that all 2) me to be wrong about that?
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——_————
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Sy ee ee we

Dover Area School District, et al.

Df 11
Sheila Harkin

January 3, 200.

 

 

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t) A: I don’t understand you to be wrong. I don’t

fa know that, but I believe you.

sj Q: Have you ever had any conversations with any of
4] those people about whether the theory of

is} evolution conflicts with their personal

16} religious views?

mA: No, I have not.

i} Q: Have any of those people ever shared with you
(9) their personal views on their religious views as
{19 it relates to the theory of evolution?
i117 A: No.
(121 (Plaintiff's Deposition Exhibit #4 marked

13} for identification)
(14]

BY MR. HARVEY:
08 “3 serene

 

 

Lo

 

i

(} Q: Have you ever contacted anyone at the paper to
(2) tell them that the reporting is incosrect?

p) A: Ihave yelled at Joe Maldonaldo occasionally.

4}  Q: Tell me on how many occasigns have you done
(5) that?

t A: I couldn't count.
™ QQ: More than five?
1) A: Probably.
1 Q: Do you remember the things that you yelled at
19) him about?
19) A: Tcouldn’t even— Many different topics.
uz) Q: Why did you yell at him?
1133 A: Because he’s a lousy reporter!
14) Q: Why is he a lousy reporter?
5) A: He never reports what's said, rarely I should
[16] Say. ,
17 Q: Did you yell at him for the press coverage that

{18} relates to the subject of the board’
(19) deliberations about the biology curriculum?

j20) +A: Yes. But by that point I was gatting tired of
(zt) him, and so I was telling him just stay away

(24) from me.
a} Q: Are you aware of anything in particular that was
f24] reported over the past year by the York Daily

25) Record that you believe was incorrect?

 

-— : — Page 27
in A: I can’t even think of all things,

t Q: Can you think of any of the things?
| @ A: Well, when we were discussing deliberating the

#) under God in the Pledge, his reporting was

] askew.
1 Q@: Anything else that you can remember that you
mm read in the York Daily Record that you believe
(8) was incorrect?
7 A: There were some things about Angie Yingling that
{10.) were incorrect.
11) Q: What things about Angie Yingling?
12) A: 1 don’t remember the specifics, but I remember
113] they were about Angie and they ware totally
(14) false that he reported.
15} Q: Anything else other than what you've just told
{16) me about under God in the Pledge and things that
(17) were reported by Angie Yingling that you believe
[18] Were reported incorrectly?
tt) A: Not topics, no.
20} Q: Now,I'd like to go.and ask yo
(2) starting about some events that be
(23) this past year. Do you remember th
23) board meeting on June the 7th?
4] A: I believe you. Do I remember
I28] Specifically, no.

a question
n in June of
pre was a

the board

 

 

 

 

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) Page 24 - Page 27

 
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Tammy Kitzmiller, et aL v.
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Df 11
dheila Harkins
April 12, 2005

 

   
   
 
  
 

i Intelligent Design?

«OCA I looked at several websites involving Intelligent
a) Design.
4)  @: I believe in your prior testimony you had said that you

(3 don't recall at this time any of the articles that you
16) had read; is that still the case?
A: That is pretty much.That’s correct.
Q: Did you conduct any research with respect to Evolution?
A: I looked at websites, yes, that covered both areas.
Q: In what ways did you search the Internet? Do you recall
search terms that you used when going to the Internet
for your research?
A: | used Google. I used Intelligent Design. I think I
used Evolution. | used macro and micro Evolution.

the information that you received on these websites
was -

A; Lam sorry.

Q: When looking at the websites, in what way did you
determine whether or not the information that you
received from these websites was accurate?

MR. GILLEN: Objection to the form.

MR. LOWE: Could you clarify?

MA. GILLEN: Sure. You are assuming that she was
evaluating it — first of all, that she did conduct that

kind of evaluation, and second that she had some
criteria to do so. Go ahead, Sheila.

A: | did not assume it was accurate. 1 was
for information. In no

just looking
way was I determining the
accuracy of it.

BY MR. LOWE:
Pat's objection, did you pase your decision
vote for this policy on the

   
 
 
 

Q: To address
as to whether or not to

 

 

Page 9

 
 
 
   

Q: In what way did you judge whether or not the contents or

Page wo

{} truth, and yet if you dig a little bit deeper, you

ja) farce or has absolutely no information about
6) that he or she posted.

js) | Was there any way going back to the infor
77 that you used, that you based your — that you

je) help you make your informed decision, did yo

 

(19) truthful or scientific?
ty A: No.J think that’s why I said I was not cq
[12] accurate. I was only trying to
Q: Okay.

gather informat}
(13]
(14]
(15) Internet is just out there.
ji «QI at any time during the course of this
117) feel the need to take a break, if I ask you any;
you feel uncomfortable
{19} consideration to my duty to my own clients
peo) «CA: Sure. would just ask you

[18] questions that make
[21) not process fast.
Heg «=: I will continue to use my slow voice.

(24) of these materials to other Board members}
25) A: No, I never downloaded to print anythi

 

ft)

rq —sA: Could you expand on that?

3}  @: Sure. Did you hear about Intelligent
4] the passing of the resolution?

ts} A: Oh, yes.

6)

71 the previous June Board meetings?
1) A: Yes.1 heard of Intelligent Design in

Page 11

 

(2) find that the person that published these articl¢s or
(3) published the website either did so sarcasticall

or in
t it was

tion
used to

4 in any way
ja} check to see that that information was accurate or

pnsidering it
on.

A: | think we are all well aware of the information on the
deposition you
with

to slow down. My brain does

Df the materials
{23} that you reviewed on the Internet, did you provide any

g out ever.

ant
Page 12

Q: When did you first hear about Intelligent Design?

Design prior to

Q: Did you hear about Intelligent Design prior to let's say

several years

 

 

 

 

 

1g) information that you received from these websites? s) past, but only in passing.
10) «A: Very minimally. 19 @: Do you recall in what way you wete acquainted with
1} @: When you say minimally, what did you use from those (11) Intelligent Design, how it was that you had heard of
[12] websites to help you in determining whether or not to {v2 Intelligent Design?

vote for this resolution? 113) A: No,1 don't. And I don’t think I wag informed really of

A: Only to become somewhat more informed. (14) what it really — what different people’g perception was

(1g) @: To the extent that you used the information from these {15} it involved.
{16 websites, I realize it was only minimally to help you 116) Q: At what time did you start to F ch Intelligent
(17) make an informed decision, the information that you (17) Design?
{1@) used, did you do anything to verify that that (18) As After it was brought up with the Board.
(19) information was accurate? 19) «© @: With your best recollection, was it brought up in the
{209 +A: lam sorry. | am not following your path of thought. 20) Board prior to the June meetings?
fey «= G:: Lam sure that you understand that on the Internet, fe) A: Oh,yes.
(22) anyone can pose anything? j2q3 4: Doyou remember —
123} A: That is very truc. 123) A: I was at meetings with the teachers in the spring.
24) @: You can find things on the website that look extremely 124, | @: Doyou remember at what point}t was brought up with the
25} official, that look as if they are nothing but the (25) Board first?
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ila Harkins
‘4112, 2005

Tammy Kitzmiller, et al. v.
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@: Were you presented with any materials from members of
the administration?

A: I may have been, but I don't recall any. And if 1 would
have been, they would have given it to you.

Q: Sure.
~ A: I think they gave you copies of what was included in our
Board packets, but I don’t keep this stuff so I don’t .
know that. ,

Q: [ understand that. One reason we go down this avenue of
questions is because we realize that both with the
defendants, as well as with the plaintiffs, sometimes
these questions can just spark memories the way we ask
or, just something that has occurred can help you recall
something that you didn't remember before. That is why
lam going through this.

| am confident we have received everything you
guys have turned over. 1 am also confident at the time
you turned it over, you turned over everything you
remembered that was relevant to this case. ] just might
be exploring a few avenues just to make sure that since
that time, you don't recall anything.

A: Okay.

MR. LOWE: Pat, we don’t have that much more.

MR. GILLEN: That's fine. Off the record.

 

(2)
a
(4)
) 15}
(6)
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[10]
11]
112)
{13}
114]
115}
(16)
117)
(18)
{19}
(20)
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[22]
(23)
(24)
(25)

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_—
"]

Page 31
Q: Are you aware of any member of the administration
reaching out to any of these scientific organizations
for information on Intelligent Design?
A: Not that I’m aware of.
Q: Is it your understanding that Intelligent Desigh is in
fact sound science or good science?

A: Yes.

Q: Is it your understanding that Intelligent Design isa
scientific theory?

A: Yes.

Q: How did you come to this understanding that Intelligent
Design was sound science? .

A: | read different things, saw different things, and it
sounded like sound science to me.

Q: When you are referring to things that you read and saw,
you are referring specifically to what you had seerl on
websites?

A: Yes.

Q: At this time, do you recall anything else?

A: No, they were written by — some of them by credible
biologists, people that sounded like they were credibic
biologists.

Q: You have touched on my next question. How is it that
you determined that these people were, first of all,
biologists?

 

 

(An off-the-record discussion was had.)
Page 30
(A recess was taken.)
AFTER RECESS
BY MR. LOWE:

Q: Did you ever participate in discussions with members ot |
the Schoo! Board in which you described your
understanding of Intelligent Design?

A: No.

Q: And did you ever participate in discussions with members
of the School Board in which they shared with you their
understanding of Intelligent Design?

A: No. .

Q: To your knowledge, did any of the members of the Board,
yourself included, make any phone calis to any
| scientific organizations with respect to Intelligent
| Design?

; A: Could you read the question again?

}  Q: Sure. Maybe I will be more specific.To the best of

) your knowledge, did either you or any of the members of
} the School Board make any phone calls or discuss
]

}

 

Intelligent Design with any scientific organizations?
And I will give you a couple of different
4 scientific organizations such as the American
4 Association for the Advancement of Science or the
} American Federation of Biology Teachers.
yA: Not that I’m aware of.

 

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(23)
(24)
(25)

 

 

~~

Page 32
A: Because the website said they were biologi ts. Whether
they were or not, I don’t know that. It is just t
they claimed to be, and they had background information
on themselves.
Q: Did you go beyond the website to research|whether any of
these individuals were biologists?
A; Ie?
Q: You are on a website put together by Mr. Gillen, and he

 

 

explains his background. Did you go beyond that website
to see whether or not what he said about

fact accurate or true?

was in

A: lL had on — I don’t remember the names, but one or two |
just put in their names.

Q: When you say put in their names, you mean —

A: Googie.

Q: Do you recall what you got back when you Googled their
names?

A: No, I don't exactly. No.

Q: Google is wonderful; isn't it? Did you go further than
just Googling their names?

A: I might have hit one or two of them. In Google, you
read what it says, and | may have hit one or two.

Q: Do you recall any of these names?

A: I'm sorry.

Q: That's okay. Do you recail what any of these second

 

 

age 29 - Page 32 (10)

 

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ila Harkins
i112, 2005

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yelieve that something outside of what we can perceive
,eeds to take an action according to Intelligent Design?

A: Something?

Q: Something, someone.

A: Excuse me?

MR. GILLEN: Objection to the form. Can we go off
the record?

MR, LOWE: Sure.

(An off-the-record discussion was had.)

BY MR. LOWE:

Q: Is it your understanding that Intelligent Design
requires an acceptance of the fact that there is some —
intelligent designer?

A: I would say an acceptance that there is — that it is.
designed by intelligence.

Q: Do you have any understanding of what this intelligence
is?

A: No, I don’t.

Q: Do you think one needs an understanding of what this
intelligence is in your opinion? 7

A: Does one need? It is up to whether one does need.

Q: To understand Intelligent Design, would one need an
understanding of what this designer is?

A: Only if one desired to know. _,

Q: Would it be okay in your opinion for what the

(23)

 

 

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intelligent designer was to be explored in the public
school setting?

A: Would it be okay?

Q: Yes, in your opinion.

A: I never crossed — I never thought of that.

Q: In your opinion, would it be okay to discuss in the
public school setting what this intelligent designer
was?

A: That was never considered.

MR. GILLEN: Object to the form.

MR. LOWE: Could you explain?

MR. GILLEN: Sure. I mean you are assuming she
had an opinion.

A: I don't have an opinion.

BY MR. LOWE:

Q: So you have no opinion as to whether or not the teaching
of what an intelligent designer is would be appropriate
in the public schools? ,

A: There was never any thought given or consideration.

Q: That is okay. | am asking if you were to give ,
consideration to it at this moment.And it is fine to
say what you have already said.

A: I don't have one.

Q: I am going to take a couple of minutes, and I am going
to actually step back from that topic this time, and I

 

 

Page 39
(1) am going to spend just a couple of seconds to talk abput
fq the donation of books in your School District.
8) A: Okay. Do you want me to look at this anymore?
41 Q: Not at this time. 1 doubt we will get back to .
(s} And by this, she is referring to her own Se ee
{@) previous deposition testimony.
7 Who is it that made the decision to accept the
is} donation Of Pandas and People?
3) A: I believe the administration.
(19) Q: Did the School Board or any committee of the School
111) Board review the books before they were accepted)
(13 A: There had been discussion of the book Of Paridas prior.
(139 Q@: Do you recall who was involved with these discussions?
(14) A: ‘It was at the Board meeting.
(15) @: Did you personally review these books before the
(16) donation was accepted? ,
17) ~—~-A: Yes.
118) Q: Do you recall if any other members of the Boprd reviewed
{19} the books prior them being accepted?
feo] «=A: I. don’t know that.
(21)  Q: Is it my understanding that recently, you accepted the
{22} donations of a number of other textbooks that were
donated by a group called Debunk Creation?
1244 A: A lot of those weren't textbooks.

<2

 

125) Q: Let me rephrasé- my question. Are you awary of some

11) books being donated by a group called Debunk Creation?
OA: ‘Yes. 7
3} | Q@: Was that donation handled in a different manner than the
(4) donation of the book Of Pandas and People?
8 A: Oh, yes. .

i): In what ways was it handled differently?

=

m A: They just showed up at the door.
{8} @: When you say they just showed up at the Hoor, could you
(9) elaborate? , . , .
119) A: I think Dr. Nilsen got an e-mail from Debunk Creation
[11] saying they had a UPS slip that we got the books, if we
(12) accepted them or something like that. And he didn’t
[13] even know where the books were. That is incogrect
{i4] English. It hurt my cars when I said it.
[15] Q: It’s okay. Do you know who received thoge books?
(164) A: They had a slip saying with some secre
{17} they were hunted down. Is that what you are asking?
{183 @: Yes. I just wanted to know if you had personal
(19) knowledge whether they were sent to the Schpol Board. 1
f20) am trying to pursuc who it was sent to. .

=

*s name.Then

22) one of the secretaries in the building signed the UPS
(23) slip.
124)  Q: That’s good enough. Other than the fact that they

[25] showed up unannounced, was there any other way in which

 

 

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(21) A: I don’t know who they were addressed fo, but I just know

 

 

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ila Harkins
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Q: So it was more of a grammatical or stylistic change than
it was a substantive change?

A: Yes.

Q: Do you recall anyone else making changes to the
newsletter prior to its publication?

A: I don’t know that.

Q: Okay. We are on to my Jast section. It is my
understanding of the Intelligent Design or rather of the
curriculum policy or the curriculum update that when
Intelligent Design is presented in class, students are
not allowed to ask questions about Intelligent Design;
is that correct?

MR. GILLEN: Objection to the form.

MR. LOWE: Could you explain?

MR. GILLEN: Yeah. Did you say students aren't
allowed to ask or teachers aren't allowed to answer?

MR. LOWE: I started students aren't allowed to
ask. 1 am trying to get an understanding. .

A: That is really not something the Board deals with.

BY MR. LOWE:

Q: Is it your understanding that students — let me go to
the teacher's end of it. That might be easier for you.

It is my understanding that teachers aren't

| allowed to respond to any questions concerning
| Intelligent Design that may be brought up?

”

 

r A: That is my understanding.

}  @: Are you aware of any other subject that is covered in
} the Dover area curriculum jn which students or rather in
} which teachers aren't allowed to answer questions?

3 A: No,I'm not.

’ Q: Can you explain why it is that Intelligent Design is
1 treated differently than any other subject that is

4 introduced in school? Lo.

y MR. GILLEN: Objection to the characterization of

y the evidence.

MR. LOWE: Can you explain?

2 MR. GILLEN: Just she said she doesn't — she is

3 not aware of anything else. ] am not sure there are any

4 other subject matters that teachers can’t address, and

5) therefore —
6) MA. LOWE: Fair enough. :
n BY MR. LOWE:

g) «6: Could you explain why it is — according to your
9) understanding, there’s no other subjects in which the
19) teachers aren't allowed to address questions.

uy) With this in mind, could you explain why

2) Intelligent Design is treated differently?

2») A: I think it was an administrative decision, possibly
24) because of the lawsuit. | don’t know. 1 only would be
25) guessing then.

—
Page 54

ty Q: I don’t want you to guess. Is it your belief, yous

(2) opinion that Intelligent Design should be allowed to/be
{3} more fully explored in the science classroom?
4) MR. GILLEN: Objection to the form.

i) MR. LOWE: Could you explain?

jf) MR. GILLEN: You are assuming she has a belief of
[ opinion on that issuc. —

8) . BY MRA. LOWE:
(3  Q: Do you have an opinion as to whether Inte! igent Design
{19 should be allowed to be fully explored in the seenke

{11] classroom?
11 A: Wenever got that far because the teachers made us aware
\13) they weren't educated in the area and preferred ngt to

(14) teach it.'So that's where it stopped. .

115) @: Would you personally have a problem if Intelligent
(16) Design were fully explored in the science ae _
(17) more fully explored?

te) A: I never gave it consideration.
19) Q: If] were to ask you to give it consideration now, would
j20} you have an opinion cither way?
ry) MR. GILLEN: Objection. Calls for speculation.
[22] BY MR. LOWE:
23] +«=«@: [am asking for your opinion.

24) «=A: We area standards driven district. It would have to be

125) explored more fully how it would relate to the standards

Page 56
(1) before I could form an opinion I think.
ja Q: That's fine. In your opinion, is not allowing questions
3) with respect to a topic that is brought up or introduced

4) in schools, is that consistent with your general
(9) understanding of good educational practice?
(8) MR. GILLEN: Objection to the form.

m MR. LOWE: Could you explain?

fa} « MR. GILLEN: Sure. 1 think you are assuming she
(9) has got an understanding of good educational Pctce
[19) and how certain questions and certain subject imatters
(1) should be dealt with according to standard ed cational
[12] practice. ’

(13) MR, LOWE: Fair enough. Are you instructi her

 

(14) not to answer?
1s) MR. GILLEN: No.1 am saying — read back
[16] question, please. May I ask you to read back the

 

 

[17] question?. . .
{18} | CThe question, “In your opinion, is not allawing

[19] questions with respect to a topic that is brought up or

(20) introduced in schools, is that consistent with] your

(2t) general understanding of good educational piractice,” was
zz) read by the reporter.)

(23) . BY MR. LOWE: -
24) Q: Again, 1 believe I was clear in both instances that's
(25) your opinion in each instance.

 

 

 

 

 

 

 

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pf 11
Tammy Kitzmiller, et al sv. Sheila Harkins
Dover Area School District, et al. April 12, 2005
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1 Intelligent Design?

2 A: | looked at several websites involving Intelligent
a Design.

i Q: | believe in your prior testimony you had said that you
a don’t recall at this time any of the articles that you
i had read: is that still the case?

 
 
 
  

{s) truth, and yet if you dig a little bit deeper, you

12 find that the person that ated the erdeieh o

3) published the website cither did so sarcastically or in

4) farce or has absolutely no information about what it was

{5} that he or she posted. ,

1 ~—sC Was there any way going back to the i
to

 

 

 
  
   
 
 
 
  
 
  
 

 

 

m A: That is pretty much. That's correct. in that you used, that you based your —- that you

Bi Q@: Did you conduct any research with respect to Evolution? j help you make your informed decision, did you in any way

é A: l looked at websites, yes, that covered both areas. fs) check to see that that information was accurate or

11 «© Q:_ In what ways did you search the Internet? Do you recall (19 truthful or scientific?

ft) search terms that you used when going to the Internet (1) A No.1 think that’s why I said I was not co: idering it

[tq for your research? {iz} accurate. | was only trying fo gather informati

13 «A: Lused Google. I used Intelligent Design. | think [ 113) G: Okay.

(14) used Evolution. | used macro and micro Evolution. iq As 1 think we are all well aware of the info: on on the

(1) Q: In what way did you judge whether or not the contents or —_[j15) Internet is just out there.

tq the information that you received on these websites (1 @: [fat any time during the course of this deposition you

7 was — {7} feel the need to take a break, if ask you any

ta «so As::« Sam sorry. [1a] questions that make you feel uncomfortable

1 @; When looking at the websites, in what way did you {19 consideration to my duty to my own clients

ay determine whether or not the information that you As Sure. 1 would just ask you to slow down. My brain does

fai) received from these websites was accurate? Pi] not process fast.

pa, MR. GILLEN: Objection to the forrn. Te = @: I will continue to use my slow voice. Of the materials

2) MR. LOWE: Could you clarify? a) that you reviewed on the Internet, did you p: any
So: MR. GILLEN: Sure. You are assuming that she was js of these materials to other Board members?

os) evaluating it — first of all, that she did conduct that A: No, I never downloaded to print anything out ever

re ot
Page 1 Page 12

1} kind of evaluation, and second that she had some
criteria to do so. Go ahead, Sheila.
p A: I did notassume it was accurate. | was just looking
i) for information. In no way was 1 determining the
{s} accuracy of it.
I BY MR. LOWE:
fi 0G: To address Pat's objection, did you base your decision
B as to whether or not to yote for this policy on the
8 information that you received from these websites?
110) A: Very minimally.
{4) Q: When you say minimally, what did you use from those
iq) websites to help you in determining whether or not to
(fm vote for this resolution?
(8) A: Only to become somewhat more informed.
Q: To the extent that you used the information from these

   
 
 
 
    

{18}
(16) websites, realize it was only minimally to help you

[17] make an informed decision, the information that you

(18) used, did you do anything to verify that that

119} information was accurate?

yo) 4 As: Lam sorry.] am not following your path of thought.

ey «Q:: | am sure that you understand that on the Internet,

pz anyone can pose anything?

ea) As That is very truc.

4; G: You can find things on the website that look extremely
(2s) official, that look as if they are nothing but the

  
  
 
 

ty) @: When did you first hear about Intellig
«0A: Could you expand on that?

p) Q: Sure. Did you hear about Intelligent
{4 the passing of the resolution?
fm. A: Ohyes.

fe) @: Did you hear about intelligent Design
7 the previous June Board meetings?
1) «6s At: Yes. J heard of Intelligent Design in s¢veral years
| past, but only in passing.
j1) @: Do you recall in what way you were acquainted with
(1) Intelligent Design, how it was that you had heard of

uz Intelligent Design?
3) A: No,} don’t.And I don’t think I was i
{t4) what it really — what different people's
[ig) it involved.

pe) @: At what time did you start to research Intelligent
7 Design?
a} «A After it was brought up with the

pa @: With your best recollection, was i eought up in the
20) Board prior to the June meetings?
Tet} A: Oh, yes.

prior to let's say

formed really of
eption was

 

 

 

fa «= @: Do you remember --
(23 A: [was at meetings with the teachers in the spring.
fa ««G@: Do you remember at what point it was brought up with the

25) Board first?

 

t Design?
ign prior to

 

 

 

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“"Q: Were you presented with any materials from members of
the administration?

A: may have been, but I don’t recall any.And if | would
have been, they would have given it to you.

Q: Sure.
~ A: I think they gave you copies of what was included in our
Board packets, but I don't keep this stuff so I don’t |
know that ,

Q: ] understand that. One reason we go down this avenue of q
questions is because we realize that both with the
defendants, as well as with the plaintiffs, sometimes
these questions can just spark memories the way we ask
of, just something that has occurred can help you recall
something that you didn’t remember before. That is why
lam going through this.

Lam confident we have received everything you
guys have turned over. 1 am also confident at the time
you turned it-over, you turned over everything you
remembered that was relevant to this case. just might

—
ti  Q: Are you aware of any member of the administration

jy reaching out to any of these scientific organizations

i) for information on Intelligent Design?

yA: Not that I'm aware of.
Ks Q: Is it your understanding that Intelligent Design] is in
18} fact sound science of good science?
m «oA: Yes.
i) Q::_ Is it your understanding that Intelligent Design] is a
fe} scientific theory?
to =A: Yes.
{1} @: How did you come to this understanding that intelligent
12 Design was sound science?
113) A: J read different things, saw different things, and it
[14) sounded like sound science to me.
118 @: When you are referring to things that you read and saw,
{18} you are referring specifically to what you had seen on
{i7] websites?
tie) As Yes.
119 Qs At this time, do you recall anything cise?

be exploring a few avenues just to make sure that since 1 |e) «At No, they were written by —~ some of them by| credible

that time, you don’t recall anything.
A: Okay.

21) biologists, people that sounded like they were credible
(2a) biologists.

 

Mf. LOWE: Pat, we don’t have that much more.
MR; GILLEN: That's fine. Off the record.
(An off-the-record discussion was had.)

Page
(A recess was taken.)
AFTER RECESS
BY MR. LOWE:
Q: Did you ever participate in discussions with metnbers of
the School Board in which you described your
| understanding of Intelligent Design?
| A: No.
|  @: And did you ever participate in discussions with members
| of the School Board in which they shared with you their
} understanding of Intelligent Design?
} A: No.
} Q: To your knowledge, did any of the members of the Board,
} yourself included, make any phone calls to any
} scientific organizations with respect to Intelligent
} Design?
4 A: Could you read the question again?
4  @Q: Sure. Maybe | will be more specific.To the best of
your knowledge, did either you or any of the members of
4 the School Board make any phone calls or discuss
y Intelligent Design with any scientific organizations?
And E will give you a couple of different
4 scientific organizations such as the American
3) Association for the Advancement of Science or the
4) American Federation of Biology Teachers.
3) A: Not that I'm aware of.

 

|tzs} | Q: You have touched on my next question. How is it that
(24) you determined that these people were, first of all,
25} biologists?

1) A: Because the website said they were biologists. Whether
@ they were or not,] don’t know that. It is just what
9) they claimed to be, and they had background infofmation

) on themselves.

wm these individuals were biologists?
m A: Ie?

fe) @: You are on a website put together by Mr. Gillen. and he
fs) explains his background. Did you go beyond that|/website

(10) to see whether or not what he said about himselffwas in

{11} fact accurate or truc?

113] just put in their names.
(14) @: When you say put in their names, you mean —
11s) A: Googie.

[7] names?

(18) &: No, I don’t exactly. No.
i193)  @: Google is wonderful; isn't it? Did you go further than
ja, just Googling their names?
et} =A: : I might have hit one or two of them. In Gdogic, you
zz) read what it says, and ] may have hit one or two
zy «= Q::: Do you recall any of these names?
eos A: I'm sorry.

72s)  @: That's okay. Do you recall what any of thdse second

 

 

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pe
|  @: Did you go beyond the website to research whether any of

pq A: Ehadon — I don't remember the names, bet one or two I

pe) 60s GQ: Do you recall what you got back when yoy Googled their

 

 

 

a

 

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believe that something outside of what we can perceive
needs to take an action according to Intelligent Design? ‘

A: Something?

Q: Something, someone.

A: Excuse me?

MR. GILLEN: Objection to the form. Can we go off
the record?

MR. LOWE: Sure.

(An off-the-record discussion was had.)

BY MR. LOWE:

Q: Is it your understanding that Intelligent Design
requires an acceptance of the fact that there is some
intelligent designer?

A: | would say an acceptance that there is — that itis. >

lesigned by intelligence.

Q: Do you have any understanding of what this intelligence
is?

A: No, I don’t.

Q: Do you think one needs an understanding of what this
intelligence is in your opinion?

A: Does one need? It is up to whether one does need.

Q: To understand Intelligent Design, would one need an
understanding of what this designer is?

A: Only if one desised to know...
Q: Would it be okay in your opinion for what the

    
   
     
     

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intelligent designer was to be explored in the public
school setting?

A: Would it be okay?
Q: Yes, in your opinion.
A: I never crossed — J never thought of that.
Q: In your opinion, would it be okay to discuss in the
public school setting what this intelligent designer
‘was?

 

 

  

  

at was never considered.
MR, GILLEN: Object to the form.
MR. LOWE: Could you explain?
MR. GILLEN: Sure. I mean you are assuming she
had an opinion.
A: I don’t have an opinion.
BY MR. LOWE:
Q: So you have no opinion as to whether or not the teaching
of what an intelligent designer is would be appropriate
in the public schools? ,
A: There was never any thought given or consideration.
Q: That is okay. ! am asking if you were to give
consideration to it at this moment. And it is fine to
say what you have already said.
A: I don’t have one.
Q: 1am going to take a couple of minutes, and I am going
to actually step back from that topic this time, and |

i
}
J
3
}
J
1
}
4
4
q
}
4
4q

~~

 

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(i) am going to spend just a couple of seconds to talk aout
12) the donation of books in your School District.
g) As Okay. Do you want me to look at this anymore!
¥)  Q: Notat this time. 1 doubt we will get back to
{s) And by this, she is referring to her own deposition,
1 previous deposition testimony. "+
1 Who is it that made the decision to accept the
je} donation Of Pandas and People?
tj 0s A: 1 believe the administration.

 

(iq) @t_ Did the School Board or any comunittee of th School
|i} Board review the books before they were accepte

{tq A: There had been discussion of the book Of Paridas prior.

13] GQ: Do you recall who was involved with these ssions?

14) A: _It was at the Board meeting.

1s) @: Did you personally review these books befor¢ the

ine) donation was accepted?
7A: Yes.

118} Q@: Do you recall if any other members of the Board reviewed
119) the books prior them being accepted?
m1__ A: I don’t know that.

{21} Q: Is it my understanding that recently, you acct
(22) donations of a number of other textbooks that weg
12m donated by a group called Debunk Creation?
re) A: A lot of those weren’t textbooks.

| Q: Let merep ‘my question. Are

Epted the
e

 

 

Page 40
{1} books being donated by a group called Debunk Creation?
mA: Yes. 7
eg @: Was that donation handled in a different manner than the
{4} donation of the book Of Pandas and People?
CAs Oh, yes.

(6) Q:;:_In what ways was it handled differently?
m A: They just showed up at the door.

{3  @: When you say they just showed up at the d
(9) elaborate?
fio) = As | think Dr. Nilsen got an e-mail from Debur&k Creation
{11} saying they had a UPS slip that we got the books:
[12] accepted them or something like that.And he did
{13} even know where the books were.That is corr
114] English. It hurt my ears when | said it.
ps Q: It’s okay.Do you know who received thos¢ books?

116 A: They had a slip saying with some secretary's name. Then
117) they were hunted down. Is that what you are asking?

11a @: Yes. 1 just wanted to know if you had ral

118} knowledge whether they were sent to the Schopi Board. |

(20) am trying to pursue who it was sent to.
ey A: Idon’tknow who they were addressed tq,
zz) one of the secretaries in the building signed th¢
P23) slip.
(24) Q: That's good enough. Other than the fact that they

por, could you

if we
in’t
Pct

but I just know
UPS ,

25] showed up unannounced, was there any other

 

 

way in which

 

 

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Q: So it was more of a grammatical or stylistic change than
it was a substantive change?
A: Yes.
Q: De you recall anyone else making changes to the
newsletter prior to its publication?
A: I don't know that.
|  @: Okay. We are on to my last section. It is my
| understanding of the Intelligent Design or rather of the
| curriculum policy or the curriculum update that when
| Intelligent Design is presented in class, students are
} not allowed to ask questions about Intelligent Design,
} is that correct?
} MR. GILLEN: Objection to the form.
} MR. LOWE: Could you explain?
) MR. GILLEN: Yeah. Did you say students aren't
q allowed to ask or teachers aren't allowed to answer?
1 MR. LOWE: I started students aren't allowed to
7 ask. 1] am trying to get an understanding.
y A: Thatis really not something the Board deals with.
4 BY MR. LOWE:
1 @: Is it your understanding that students — let me go to
a the teacher's end of it. That might be easier for you.

i) Q: I don’t want you to guess. Is it your belief,

{2 opinion that Intelligent Design should be stlowed th
(3) more fully explored in the science classroom?
f4) MA. GILLEN: Objection to the form.

{Ss} MF. LOWE: Could you explain?

i) «MR. GILLEN: You are assuming she has a belief gr
{7} opinion on that issue.

ity oN , BY MA. LOWE:

2 «© Q:: Do you have an opinion as to whether intelli
110) should be allowed to be fully explored in the sci
{11} classroom?

tq A: Wenever got that far because the teachers
113) they weren'r educated in the area and preferred
{14} teach it.So that's where it stopped.

(#5} @: Would you personally have a problem if In
(18) Design were fully expiored in the science m—

{17) more fully explored?

ua As Ll never gave it consideration. | eer
tt) G: If] were to ask you to give it consideration pow, would

#20] you have an opinion either way?

1) MR. GILLEN: Objection. Calls for speculation.
124 BY MR. LOWE:

 

ent Design

 

de us aware
t to

igent

 

 

3 It is my understanding that teachers aren't 2) @: Lam asking for your opinion.

4 allowed to respond to any questions concerning 2) Ar We are a standards driven district. It would|have to be

§) intelligent Design that may be brought up? 3 (25) explored mote fully how it would relate to the standards ©
" Page 54 Page 56

1} A: That is my understanding. (1) before | could form an opinion I think.

2 @: Are you aware of any other subject that is covered in = Q: That's fine. in your opinion, is not allowing questions

3) the Dover area curriculum jn which students or rather in 3] with respect to a topic that is brought up or introduced

4 which teachers aren't allowed to answer questions?

«© OA: No, Pm not.

a Q: Can you explain why it is that Intelligent Design is
7 treated differently than any other subject that is

I} introduced in school?

tj) «60s MR. GILLEN: Objection to the characterization of

10) the evidence.

1) ‘MRL LOWE: Can you explain?

13) MA. GILLEN: Just she said she doesn't — she is

13) not aware of anything else. | am not sure there are any
t4] other subject matters that teachers can't address, and

18 therefore —

1q MR. LOWE: Fair enough. :

17 BY MR. LOWE:

49) @: Could you explain why it is — according to your

19 understanding, there's no other subjects in which the
20, teachers aren't allowed to address questions.

2) With this in mind, could you explain why

22) Intelligent Design is treated differently?

23) A: I think it was an administrative decision, possibly
ja) because of the lawsuit. 1 don’t know. I onty would be
(25) guessing then.

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i) in schools, is that consistent with your general
(5) understanding of good educational practice?
9 MR. GILLEN: Objection to the form.

i) MR. LOWE: Could you explain?

pi - MR. GILLEN: Sure. 1 think you are assuming
1} has got an understanding of good educational p ce

{io} and how certain questions and certain subject matters

111) should be dealt with according to standard edu tional

12} practice. .

113} MA. LOWE: Fair cnough.Are you instructing her

{14} not to answer?

118) MR. GILLEN: No.1 am saying — read back the

{18} question, please. May 1 ask you to read back th:

U7} question?. .

1183 (The question, “In your opinion, is not allowi

(19) questions with respect to a topic that is brougnt up or

{20| introduced in schools, is that consistent with your

2) general understanding of good educational practice,” was
ea1 read by the reporter.)

123) BY MR. LOWE: -
js)  Q: Again,] believe | was clear in both instances that's
{25} your opinion in each instance.

 

 

 

 

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